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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                               CASE NO. 1:19-cv-24539-FAM

 HAPPY TAX FRANCHISING, LLC, a
 Florida limited liability company,

       Plaintiff,

 v.

 THE J L HILL GROUP, LLC, a Nevada
 limited liability company and JAMEY
 HILL, individually,

       Defendants.

                                  ANSWER AND DEFENSES

        Defendants JL Hill Group LLC and Jamey Hill, through counsel, respond to the

 plaintiff’s complaint [DE 1-2] as follows:

        1.      The defendants admit that plaintiff purports to assert a breach of contract claim,

 but deny the remaining allegations in paragraph 1.

        2.      The defendants admit the allegations in paragraph 2.

        3.      The defendants admit that The JL Hill Group LLC is a Nevada limited liability

 company, whose sole member is defendant Jamey Hill.

        4.      The defendants admit that Jamey Hill is the sole member of the defendant The JL

 Hill Group LLC, but deny the remaining allegation in paragraph 4.

        5.      The defendants admit that this Court has subject-matter jurisdiction over this

 action and that plaintiff purports to sue for $224,000, but defendants deny that they owe the

 plaintiff any money.

        6.      The defendants admit that venue is proper in this Court.
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        7.      The defendants admit that the plaintiff and defendant The JL Hill Group LLC

 entered into a franchise agreement on or about September 28, 2015, which was superseded by a

 franchise agreement executed by the respective parties on or about June 13, 2018, and modified

 by addendum executed on or about August 13, 2018. The defendants deny the remainder of the

 allegations in paragraph 7 as the express terms of the superseded franchise agreement control its

 meaning and content.

        8.      The defendants deny the allegations in paragraph 8 as the express terms of

 superseded franchise agreement control its meaning and content.

        9.      The defendants deny the allegations in paragraph 9 as the express terms of the

 superseded franchise agreement control its meaning and content.

        10.     The defendants admit that the plaintiff and defendant The J L Hill Group LLC

 entered into an area representative franchise agreement on or about July 13, 2017, and that the

 plaintiff attached a copy of that agreement to its complaint as Exhibit 1. The defendants deny the

 remaining allegations in paragraph 10 as the express terms of the area representative franchise

 agreement control its meaning and content.

        11.     The defendants deny the allegations in paragraph 11 as the express terms of area

 representative franchise agreement control its meaning and content.

        12.     The defendants deny the allegations in paragraph 12 as the express terms of area

 representative franchise agreement control its meaning and content.

        13.     The defendants admit that defendant The J L Hill Group LLC executed a

 promissory note on or about July 13, 2017, but deny the remaining allegations in paragraph 13 as

 the express terms of the promissory note control its meaning and content.

        14.     The defendants deny the allegations in paragraph 14 as the express terms of the


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 promissory note control its meaning and content.

        15.     The defendants admit that the plaintiff and The JL Hill Group LLC executed a

 franchise agreement on or about August 13, 2018 and that the plaintiff attached a copy of that

 franchise agreement to its complaint as Exhibit 2.          The defendants deny the remaining

 allegations in paragraph 15 as the express terms of the franchise agreement controls its meaning

 and content.

        16.     The defendants deny the allegations in paragraph 16 as the express terms of the

 franchise agreement control its meaning and content.

        17.     The defendants deny the allegations in paragraph 17 as the express terms of the

 franchise agreement control its meaning and content.

        18.     The defendants deny the allegations in paragraph 18 as the express terms of the

 franchise agreement control its meaning and content.

        19.     The defendants admit that the plaintiff and The JL Hill Group LLC executed an

 amendment agreement on or about September 5, 2018, and that the plaintiff attached a copy of

 that amendment agreement to its complaint as Exhibit 3.

        20.     The defendants deny the allegations in paragraph 20.

        21.     The defendants deny the allegations in paragraph 21 as the express terms of the

 amendment agreement controls its meaning and content.

        22.     The defendants deny the allegations in paragraph 22.

        23.     The defendants deny the allegations in paragraph 23.

        24.     The defendants admit that the plaintiff’s counsel sent the The JL Hill Group LLC

 a letter dated September 17, 2019, but deny the remaining allegations contained in paragraph 24

 as the letter’s express terms control its meaning and content.


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        25.     The defendants admit that the JL Hill Group LLC did not pay the plaintiff

 $224,000, but deny that the JL Hill Group LLC owed the plaintiff any money. The defendants

 deny the remaining allegations in paragraph 25.

        26.     The defendants have no knowledge of the plaintiff’s arrangements with its

 counsel and deny the allegations in paragraph 26 accordingly.

        27.     The defendants deny the allegations in paragraph 27. Specifically, no default has

 occurred under the express terms of the amended promissory note or the “parties’ agreement”,

 and no cause of action for breach of contract has accrued. The defendant The JL Hill Group

 LLC did not “admit in writing its inability to pay its debts as they mature” as paragraph 6(i) of

 the promissory note requires. The JL Hill Group LLC did not “fail to make any payment due” as

 paragraph 6(ii) of the promissory note requires, as no payment is due under the promissory note,

 as amended, until April 15, 2020. Further, the defendant The JL Hill Group LLC did not “state

 that effective July 5, 2019 [The JL Hill Group LLC] was unilaterally terminating” the August 13,

 2019 franchise agreement or the July 13, 2017 area representative franchise agreement or that the

 JL Hill Group LLC “would not be paying the sums due under the” July 13, 2017 promissory

 note, as amended on September 5, 2018.

        28.     The defendants incorporate their responses in paragraphs 1 through 27, above, as

 if restated fully here. The defendants admit that the plaintiff purports to assert a breach of

 promissory note claim against the JL Hill Group LLC, but deny that any such claim has accrued

 or is otherwise appropriate.

        29.     The defendants admit that the plaintiff and The JL Hill Group LLC executed an

 area representative franchise agreement on or about July 13, 2017, but deny the remaining

 allegations in paragraph 29 as the express terms of the area franchise agreement control its


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 meaning and content.

        30.    The defendants deny the allegations in paragraph 30 as the area representative

 franchise agreement control its meaning and content.

        31.    The defendants admit that defendant The J L Hill Group LLC executed a

 promissory note on or about July 13, 2017, but deny the remaining allegations in paragraph 31 as

 the express terms of the promissory note control its meaning and content.

        32.    The defendants admit that the plaintiff and The JL Hill Group LLC executed an

 amendment agreement on or about September 5, 2018, but deny the remaining allegations in

 paragraph 32 as the express terms of the amendment agreement control its meaning and content.

        33.    The defendants deny the allegations in paragraph 33.

        34.    The defendants admit that the JL Hill Group LLC did not pay the plaintiff

 $224,000, but deny that the JL Hill Group LLC owed the plaintiff any money, and deny the

 remaining allegations in paragraph 34.

        35.    The defendants deny the allegations in paragraph 35.

        36.    The defendants admit that on or about July 28, 2015, the plaintiff and The JL Hill

 Group LLC executed a franchise agreement, which was superseded by a franchise agreement

 executed by the respective parties on or about June 13, 2018, and modified by addendum

 executed on or about August 13, 2018but deny the remaining allegations in paragraph 36.

        37.    The defendants deny the allegations in paragraph 37 as the express terms of the

 superseded franchise agreement control its meaning and content.

        38.    The defendants deny the allegations in paragraph 38 as the express terms of a

 superseded franchise agreement control its meaning and content.

        39.    The defendants admit that the plaintiff and The JL Hill Group LLC executed an


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 area representative franchise agreement on or about July 13, 2017, but deny the remaining

 allegations in paragraph 39 as the express terms of the area franchise agreement control its

 meaning and content.

        40.    The defendants deny the allegations in paragraph 40 as the express terms of the

 area representative franchise agreement control its meaning and content.

        41.    The defendants admit that defendant The J L Hill Group LLC executed a

 promissory note on or about July 13, 2017, but deny the remaining allegations in paragraph 41 as

 the express terms of the promissory note and the area representative franchise agreement control

 their respective meanings and contents.

        42.    The defendants admit that the plaintiff and The JL Hill Group LLC executed an

 amendment agreement on or about September 5, 2018, but deny the remaining allegations in

 paragraph 42 as the express terms of the amendment agreement control its meaning and content.

        43.    The defendants deny the allegations in paragraph 43.

        44.    The defendants admit that the JL Hill Group LLC and Jamey Hill did not pay the

 plaintiff $224,000, but deny that the JL Hill Group LLC or Jamey Hill owed the plaintiff any

 money, and deny the remaining allegations in paragraph 44.

        45.    The defendants deny the allegations in paragraph 45.

                                            DEFENSES

                                            First Defense

        The plaintiff has failed to state a claim upon which relief can be granted, as no breach of

 any promissory note occurred and no cause of action for breach of promissory note accrued.

                                           Second Defense

        The plaintiff has failed to state a claim upon which relief can be granted, as no breach of


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 any guaranty occurred and no cause of action for breach of guaranty accrued.

                                           Third Defense

        Defendant JL Hill Group LLC executed the July 13, 2017 promissory note in exchange

 for a valid, legally-compliant area representative franchise. Plaintiff offered and sold to the JL

 Hill Group an area representative franchise in violation of the FTC Franchise Rule, 16 C.F.R.

 Part 436, such that the defendant JL Hill Group LLC was prohibited from selling franchises

 within the area that it had purchased from the plaintiff.      As such, the consideration for the

 promissory note failed as the area representative franchise is worthless.

                                           Fourth Defense

        The plaintiff made false statements of material fact in the franchise disclosure documents

 that plaintiff delivered to the defendants before The JL Hill Group LLC purchased a franchise

 and an area representative franchise. The plaintiff knew or should have known those statements

 were false. The plaintiff intended to induce the defendants to act in reliance on the false

 statements. In reliance on the plaintiff’s false statements, the defendants paid the plaintiff large

 sums of money in cash and executed a promissory note in the plaintiff’s favor. The defendants

 suffered actual injury and damages as result of their reliance on the plaintiff’s false statements

 that far exceed any amount of money that the defendants may owe to the plaintiff.

                                            Fifth Defense

        The plaintiff misrepresented the prospects or chances for success of a franchise and an

 area representative franchise. The defendants relied on the plaintiff’s misrepresentations to their

 detriment. The defendants suffered actual damages as a result of their reliance on the plaintiff’s

 misrepresentations.   As such, the defendants’ franchise agreement, the area representative

 franchise agreement, the promissory note and amendment agreement are rescinded pursuant to


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 Section 817.416, Florida Statutes.

                                              Sixth Defense

         Plaintiff offered and sold to the JL Hill Group a franchise and an area representative

 franchise in violation of the FTC Franchise Rule, 16 C.F.R. Part 436, by making false statements

 in or omitting material information required to be disclosed in franchise disclosure documents.

 Making false statements in a franchise disclosure document or omitting material information

 required to be disclosed is likely to deceive a consumer acting reasonably. The defendants

 suffered damages as a direct and proximate result of the plaintiff’s making false statements in

 franchise disclosure documents and omitting material information required to be disclosed, for

 which the plaintiff is responsible pursuant to Section 501.201 et seq., Florida Statutes.

         The defendants retained Shutts & Bowen LLP as their legal counsel and have agreed to

 pay counsel a reasonable fee for their services, for which the plaintiff is responsible to pay.

         The defendants demand a jury trial on all issues so triable.

 WHEREFORE, the defendants demand judgment against the plaintiff as follows:

         A.         Ruling that plaintiff shall take nothing on its complaint against the defendants,

 and will go forth without day;

         B.         Awarding the defendants compensatory and punitive damages in amounts to be

 proven at trial;

         C.         Awarding the defendants their costs and attorneys’ fees as against the plaintiff;

 and,

         D.         Providing such other and further relief that the Court deems appropriate.




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                                                    /s/ Lonnie L. Simpson
                                                    Lonnie L. Simpson, Esq., FBN 821871
                                                    lsimpson@shutts.com
                                                    Kasey Feltner, Esq., FBN 1003643
                                                    kfeltner@shutts.com
                                                    SHUTTS & BOWEN LLP
                                                    4301 W. Boy Scout Blvd., Suite 300
                                                    Tampa, Florida 33607
                                                    Telephone: (813) 229-8900
                                                    Facsimile: (813) 229-8901
                                                    Counsel for Defendants

                                CERTIFICATE OF SERVICE

        I certify that on November 13, 2019, I electronically filed Defendants’ Answer, Defenses

 and Counterclaim with the Clerk of the Court via CM/ECF which will send an electronic notice

 to counsel for the plaintiff, Jeffrey M. Berman, Esq., 1722 Sheridan Street No. 225, Hollywood,

 Florida 33020, jeff@jmbermanlaw.com, telephone: (305) 834-4150.

                                                       /s/ Lonnie L. Simpson
                                                       ATTORNEY




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